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 1    CARLOS R. HOLGUÍN (Cal. Bar No. 90754)
 2    PETER A. SCHEY (Cal. Bar No. 58232)
      Center for Human Rights & Constitutional Law
 3    256 South Occidental Boulevard
 4    Los Angeles, CA 90057
      Telephone: (213) 388-8693
 5    Email: crholguin@centerforhumanrights.org
 6           pschey@centerforhumanrights.org
 7    LEECIA WELCH (Cal. Bar No. 208741)
 8    NEHA DESAI (Cal. RLSA Bar No. 803161)
      POONAM JUNEJA (Cal. Bar No. 300848)
 9    CRYSTAL ADAMS (Cal. Bar No. 308638)
10    National Center for Youth Law
      405 14th Street, 15th Floor
11    Oakland, CA 94612
12    Telephone: (510) 835-8098
      Email: lwelch@youthlaw.org
13           ndesai@youthlaw.org
14           pjuneja@youthlaw.org
             cadams@youthlaw.org
15
16    Listing continues on next page
17    Attorneys for Plaintiffs
18
                             UNITED STATES DISTRICT COURT
19
              CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION
20
     Jenny Lisette Flores, et al.,              Case No. CV 85-4544-DMG (AGRx)
21
22                    Plaintiffs,               REPLY TO OPPOSITION TO MOTION TO
                                                ENFORCE CLASS ACTION SETTLEMENT
23          v.
                                                Hearing: June 29, 2018
24   Jefferson B. Sessions, Attorney General,   Time:    10:00 a.m.
25   et al.,                                    Room:    1st St. Courthouse
                                                         Courtroom 8C
26                    Defendants.
27
28
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 1 Counsel for Plaintiffs, continued
 2
   HOLLY S. COOPER (Cal. Bar No. 197626)
 3 Co-Director, Immigration Law Clinic
 4 CARTER C. WHITE (Cal. Bar No. 164149)
   Director, Civil Rights Clinic
 5 University of California Davis School of Law
 6 One Shields Ave. TB 30
   Davis, CA 95616
 7 Telephone: (530) 754-4833
 8 Email: hscooper@ucdavis.edu
          ccwhite@ucdavis.edu
 9
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 1 I.      INTRODUCTION
 2         Defendants contest none of the dispositive facts: ORR (1) dispatches non-
 3 dangerous children and youth to unlicensed facilities without notice or opportunity to
 4 be heard; (2) forces class members to take psychotropic medications without parental
 5 consent or court order; and (3) detains non-dangerous youth indefinitely without
 6 hearing because it thinks them psychologically unwell or suspects their parents or
 7 other custodians are or may be unfit. Defendants offer no valid reason the Court
 8 should not grant the instant motion and issue the remedial order Plaintiffs propose.
 9         The Court need not hold Defendants in contempt to prescribe procedural
10 remedies for substantive violations of the Settlement, but may do so upon a
11 preponderance of the evidence. Nothing requires this Court to condone ORR’s
12 flouting state law restrictions on giving psychotropic drugs to children merely
13 because Texas licensing authorities may be amenable to doing so.
14         Enjoining ORR against denying class members licensed placements contrary to
15 Flores v. Sessions, 862 F.3d 863 (9th Cir. 2017), should give little pause. If ORR
16 thinks a class member too dangerous for a licensed placement, it should submit its
17 evidence to an immigration judge. Awakening youth in the small hours of the
18 morning and transferring them to juvenile lock-ups without notice or opportunity to
19 be heard breaks faith with both law and common decency.
20         Lastly, it will be seen that ORR’s refusal to release non-dangerous children so
21 it may engage in extreme vetting of their parents or other relatives is wholly
22 irrational. Defendants admit as much, conceding that several of ORR’s vetting
23 practices have no empirical foundation, but are rather self-serving hedges against
24 political reproach.
25 II.     THE COURT MAY GRANT THE RELIEF PLAINTIFFS REQUEST WITHOUT HOLDING
26         DEFENDANTS IN CIVIL CONTEMPT.
27         Defendants argue that this Court may not require procedures to protect class
28 members’ substantive settlement rights unless it holds ORR in civil contempt. Defs.’
                                                          REPLY TO OPPOSITION TO MOTION TO
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 1 Resp. in Opp. to Pls.’ Mot. to Enforce Settlement, at 4 (“Opp.”). This Court has
 2 rejected that argument before:
 3         As Defendants put it, “because Plaintiffs’ motion to enforce the Agreement
 4         amounts to a request for civil sanctions against Defendants, . . . the Court
 5         should require Plaintiffs to establish any violation of the Agreement under the
 6         clear and convincing standard.” . . .
 7         The Court disagrees. Plaintiffs make no attempt to hold Defendants in civil
 8         contempt. . . . Plaintiffs’ motion asserts breach of contract and seeks
 9         enforcement of the Agreement.
10 Order re Pls.’ Mot. to Enforce, June 27, 2017 (Dkt. 363), at 3.
11         The Court held Defendants in breach, and although the Settlement does not
12 expressly require it, ordered Defendants’ juvenile coordinator to “monitor compliance
13 with those terms of the Flores Agreement, which this Court has found must be
14 enforced and . . . report directly to the Court regarding the status of Defendants’
15 compliance.” Id. at 33; see also Order re Resp. to Order to Show Cause, Aug. 21,
16 2015 (Dkt. 189), at 15 (requiring Defendants to disclose class statistics monthly,
17 rather than semi-annually).
18         Defendants next argue that Plaintiffs ask the Court to read procedural
19 requirements into the Settlement “and then to find ORR in breach . . . for failing to
20 follow . . .” those procedures. Opp. at 5. That is not Plaintiffs’ position. Instead,
21 Plaintiffs assert that when the government enters into a settlement that creates
22 substantive rights, courts may protect those rights by procedural remedy. Mem. in
23 Support of Mot. to Enforce (Dkt. 409-1), at 3-4 (“Pls.’ Br.”), citing, inter alia, Smith
24 v. Sumner, 994 F.2d 1401, 1406 (9th Cir. 1993); Stone v. City & Cty. of San
25 Francisco, 968 F.2d 850, 861 & n.20 (9th Cir. 1992).
26         Defendants argue that Smith is “limited” to “state prison litigation . . .,” Opp. at
27 5, in other words, that prisoners are uniquely entitled to procedural remedies to
28
                                                            REPLY TO OPPOSITION TO MOTION TO
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  1 protect their substantive rights under a consent decree. Defendants point to nothing in
  2 Smith to support that proposition, and there is none.1
  3         Answering Plaintiffs’ specific claims, Defendants argue that the Settlement
  4 does not itself create procedural protections against wrongful step-up or detention,
  5 and that Plaintiffs must seek relief “in separate litigation . . . .” Opp. at 12, 25.
  6 Though a hollow distraction, Plaintiffs will file a supplemental complaint obviating
  7 Defendants’ objection. The Court should grant Plaintiffs the relief they seek
  8 regardless.
  9 III.    ORR PEREMPTORILY DENIES NON-DANGEROUS YOUTH LICENSED PLACEMENT.
 10         Defendants nowhere deny that ORR dispatches class members to Residential
 11 Treatment Centers (“RTCs”), staff-secure facilities, and juvenile halls without
 12 affording them the least opportunity to be heard.
 13         Numerous youth report being awakened in the small hours and shipped off to
 14 secure placements with no advance notice. When dazed children ask where they are
 15 being taken, ORR staff often dissemble, saying they are going somewhere “better” or
 16 closer to parents and family. See, e.g., Decl. of Ricardo U., Exhibit 39 (PX 225) ¶ 2
 17 (stepped up minor falsely told he was being stepped down); Decl. of Gloria P.,
 18 Exhibit 41 (PX 233) ¶ 3 (stepped up minor falsely told she was going to another
 19 shelter).
 20         Nor do Defendants deny the profound consequences of step-up: children
 21 transferred to RTCs and juvenile halls are medicated involuntarily and without
 22 parents’ consent. Those sent to staff-secure facilities or juvenile halls endure harsh
 23 restrictions on their lives and liberty; their right to prompt release to available
 24 custodians vanishes.
 25
 26   Congress has limited prisoners’ legal recourse, see Prison Litigation Reform Act, 18
      1

    U.S.C. § 3626, even as it has repeatedly enhanced protections for children and youth,
 27
    including class members herein, see William Wilberforce Trafficking Victims
 28 Protection Reauthorization Act of 2008, § 235, 110 Pub. L. 457, 122 Stat. 5044.
                                                              REPLY TO OPPOSITION TO MOTION TO
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  1         Defendants deny none of this. Instead, they argue that RTCs are licensed
  2 shelters and that ORR’s dispatching children to such psychiatric facilities is therefore
  3 immaterial. Second, they assert there is no evidence that ORR sends youth to staff-
  4 secure facilities or juvenile halls contrary to the Settlement. Lastly, they argue that
  5 the TVPRA supersedes the agreement anyway, and the Settlement accordingly
  6 affords class members no protection against improper placement or ORR
  7 peremptorily finding their parents or other prospective custodians unfit. Defendants’
  8 arguments are meritless.
  9         A.     ORR’s interning special needs minors in RTCs does not convert them
 10                into “licensed placements.”
 11         RTCs are woefully different from licensed juvenile shelters and foster homes.
 12 The uncontroverted evidence reveals RTCs are locked psychiatric facilities in which
 13 ORR detains children until a facility doctor declares them “well.” The uncontested
 14 evidence further shows that ORR involuntarily medicates youth in RTCs without
 15 parental consent or court order, often forcing multiple psychotropic drugs on youth
 16 that cause them unhealthy weight gain, depression, extreme anxiety, and acute
 17 listlessness, among other pernicious side effects. See, e.g., Decl. of Julio Z., Exhibit
 18 64 (PX 418) ¶ 18 (“After taking the medication, I was more tired, I felt sad and my
 19 eyes got teary . . . I began to gain a lot of weight . . . In approximately 60 days, I
 20 gained 45 pounds.”); Decl. of Javier C., Exhibit 30 (PX 170) ¶ 5 (“The medicine
 21 made me fat. I used to be really skinny.”); Decl. of Maricela J., Exhibit 48 (PX 262)
 22 ¶ 5 (“When I take medicine, I do not have any mood. . . . I have suffered side effects
 23 including headaches, loss of appetite and nausea.”); Decl. of Mother of Isabella M.,
 24 Exhibit 12 (PX 71, 74) ¶ 4 (“[T]hey are requiring [my daughter] to take very
 25 powerful medications for anxiety. I have noted that [she] is becoming more nervous,
 26 fearful, and she trembles. [She] tells me that she has fallen several times . . . because
 27 the medications were too powerful and she couldn’t walk.”); Letter re: Psychotropic
 28
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  1 Medications, Exhibit 27, Attachment 10, PX 158 (Yolo psychiatrist notes child
  2 “overmedicated”; recommends drugs be “taper[ed] off”).
  3         Defendants contest none of this, but rather argue that because the Settlement
  4 allows ORR to house class members with “special needs” in licensed facilities, RTCs
  5 are “licensed placements.” Opp. at 7. That is a palpable non sequitur. Settlement
  6 Paragraph 7 defines a “special needs minor” as one “whose mental and/or physical
  7 condition requires special services and treatment by staff.” Exhibit 80, PX 556. The
  8 agreement requires ORR to “place such minors, whenever possible, in licensed
  9 programs in which the INS places children without special needs, . . . .” Id. The
 10 agreement thus requires ORR to house children with special needs with the general
 11 population of class members whenever possible. RTCs, however, house only youth
 12 “who [have] a psychiatric or psychological issue . . .” ORR, Children Entering the
 13 United States Unaccompanied: § 1.4.6, available at
 14 www.acf.hhs.gov/orr/resource/children-entering-the-united-states-unaccompanied-
 15 section-1#1.4.6 (last rev. Jan. 27, 2015).
 16         Further, Settlement Paragraph 6 allows licensed facilities, including those
 17 housing special needs minors, to “maintain [only the] level of security . . . necessary
 18 for the protection of a minor or others. . . .” Security in RTCs clearly exceeds this
 19 standard. See Julio Z. (PX 418) ¶ 21 (minor in RTC not permitted to leave his room
 20 to get water); Decl. of Gabriela N., Exhibit 19 (PX 102) ¶ 3 (minor describes RTC as
 21 locked facility with 24-hour surveillance and monitoring). Such facilities are in no
 22 sense “non-secure.” ORR’s “Notice of Placement in a Restrictive Setting” concedes
 23 as much, characterizing RTCs as “a restrictive setting . . . .” Exhibit 22, PX 114-15.
 24         Finally, a licensed facility must have a dependent care license and meet the
 25 standards set out in Settlement Exhibit 1, which requires, inter alia, that facilities
 26 afford children privacy, including a private space, and allow them to wear their own
 27 clothing and talk privately on the phone. Exhibit 80, PX 558, 571 ¶ 6 & Ex. 1.
 28 Children in RTCs enjoy none of these rights. See, e.g., Maricela J. (PX 264) ¶ 15
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  1 (minor not allowed to call her family); Gabriela N. (PX 102) ¶ 3 (minor under 24-
  2 hour surveillance and monitoring); Julio Z. (PX 417) ¶ 13 (minor sleeping in an
  3 eight-person room).
  4         Defendants neither produce their RTCs’ licenses nor identify the state laws
  5 they contend authorize the restrictions RTCs place on children’s lives and liberty.
  6 The evidence demonstrates that youth are profoundly injured when ORR summarily
  7 sends them to RTCs. RTCs bear scant resemblance to a licensed shelter.
  8         B.    ORR unquestionably sends non-dangerous class members to staff-
  9               secure facilities and juvenile halls.
 10         Defendants next argue that ORR steps up class members only as the Settlement
 11 permits. Opp. at 10. The uncontroverted evidence proves the contrary. ORR has
 12 clearly dispatched numerous youth to juvenile halls upon bare accusation of gang-
 13 involvement; immigration judges promptly ordered most of these youth released.
 14 Saravia v. Sessions, 280 F. Supp. 3d 1168, 1178-79, 1181, 1199, 1202-3, 1205 (N.D.
 15 Cal. 2017); Request for Judicial Notice, Saravia v. Sessions, No. 18-15114 (9th Cir.,
 16 Mar. 16, 2018), Exhibit 79 (PX 554-55); see, e.g., Decl. of Carlos A., Exhibit 31 (PX
 17 174) ¶¶ 5, 9. Defendants’ attempt to naysay the relevance of Saravia is unavailing.
 18 That the Saravia plaintiffs had been re-arrested is immaterial. What matters is that
 19 ORR summarily declared them too dangerous for licensed placement, yet
 20 immigration judges promptly found the vast majority not dangerous.
 21         Nor is there any dispute that ORR continues class members who were not
 22 rearrested in unlicensed placements despite immigration judges finding them not
 23 dangerous. See, e.g., Custody Order, Feb. 21, 2018, Exhibit 68, PX 443; Email from
 24 T. Biswas, Feb. 23, 2018, Exhibit 70, PX 448. Defendants nowhere contest that such
 25 placements directly violate the Ninth Circuit’s holding that an immigration judge
 26 finding a class member not dangerous “ensures that they are not held in secure
 27 detention without cause.” Flores v. Sessions, 862 F.3d at 868.
 28
                                                          REPLY TO OPPOSITION TO MOTION TO
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  1 IV.     THIS COURT,     AND NOT A STATE LICENSING AGENCY, IS CHARGED WITH

  2         ENSURING COMPLIANCE WITH A FEDERAL CONSENT DECREE.

  3         In their opening brief, Plaintiffs established that: (1) ORR routinely forces class
  4 members to take multiple psychotropic drugs; (2) minors suffer debilitating side
  5 effects from such drugs; (3) ORR regularly medicates children and youth for months
  6 without a parent’s consent or court order; (4) the Settlement requires ORR to comply
  7 with state laws regulating the administration of psychotropics to juveniles; and
  8 (5) state law requires a court to authorize ORR’s medicating minors if a parent does
  9 not. Pls.’ Br. at 12-17. Defendants deny none of this.2 Instead, Defendants argue that
 10 the Court should let state licensing agencies decide whether ORR’s medicating class
 11 members is lawful. Opp. at 15. It should not.
 12         A.    The Settlement nowhere commits children’s protection against
 13               unlawful medicating to the unfettered discretion of licensing
 14               inspectors.
 15         Nothing in the Settlement suggests that children’s protection against
 16 psychotropic drugging turns on a state licensing body’s oversight, or more accurately,
 17 the lack thereof.3 To the contrary, Settlement Paragraph 37 reserves jurisdiction in
 18
 19
 20  Nor is Plaintiffs’ evidence limited to class members ORR detains in Texas alone.
      2

    Pls.’ Br. at 16, n.14 (Julio Z. Parental Medical Authorization Form, Dec. 14, 2016,
 21 Exhibit 62, PX 411 (Yolo County Juvenile Hall official “consent” to medicating class
 22 member).
    Like Texas, California generally requires that a juvenile court authorize the
 23
    administration of psychotropic medication to dependent children. Cal. Welf. & Inst.
 24 Code §§ 369.5(a)(1), 739.5(a)(1); see also Cal. Rule of Court 5.640; Judicial Council
    of California, Mandatory Forms JV-220, JV-220(A), JV-220(B) (requiring that a
 25
    court be informed fully of the potential consequences of psychotropics prior to
 26 authorizing their administration to dependent minors).
 27  In M.D. v. Abbott, the court held that Texas Department of Family and Protective
      3

    Services (“DFPS”) was “failing its licensing and inspecting duties.” 152 F. Supp. 3d
 28 684, 802 (S.D. Tex. 2015). The court noted that DFPS had closed only “one facility
                                                            REPLY TO OPPOSITION TO MOTION TO
                                                 7                      ENFORCE SETTLEMENT
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  1 this Court to redress class-wide violations. Exhibit 80, PX 569 ¶ 37 (“This paragraph
  2 provides for the enforcement, in this District Court, of the provisions of this
  3 Agreement except for claims brought under Paragraph 24.”).
  4         Nor does a facility having a license foreclose ORR breaching the Settlement. In
  5 addition to requiring that facilities be licensed, the Settlement posits numerous
  6 requirements that ORR must observe. See, e.g., Exhibit 80, PX 571 ¶ A (“Licensed
  7 programs shall comply with all applicable state child welfare laws . . . .” (emphasis
  8 added)).
  9
 10 in the past five years, but it is a story of horror rather than optimism regarding
    enforcement.” Id. at 803.
 11
            The Daystar facility in Manvel, Texas had a capacity of 141 children. Between
 12         1993 and 2002, three teenagers died at Daystar from asphyxiation due to
 13         physical restraints. In most cases, the children were hog-tied. Beyond these
            deaths, there were reports of sexual abuse and staff making developmentally
 14         disabled girls fight for snacks. Numerous stakeholders, including the district
 15         attorney, spoke out against Daystar, but the facility kept its license. In
            November 2010, a fourth child died in what was ruled a homicide by
 16         asphyxiation due to physical restraints. Daystar’s license was still not revoked
 17         until January 2011. DFPS allowed this facility—that was responsible for four
            deaths, numerous allegations of sexual abuse, and unthinkable treatment of
 18         developmentally disabled children—to operate for 17 years.
 19 Id. at 803 (emphasis added). See also The State Foster Care System Has a License to
 20 Be Terrible at Licensing, THE HOUSTON PRESS, May 6, 2016, available at
    www.houstonpress.com/news/the-state-foster-care-system-has-a-license-to-be-
 21 terrible-at-licensing-8375852 (last visited June 12, 2018) (DFPS “rarely if ever
 22 seriously sanctions residential treatment centers and group homes that make money
    off warehousing children”).
 23
    According to news reports, Daystar was owned by Clay Dean Hill, who now owns
 24 the Shiloh RTC. Federal Agency’s Shelter Oversight Raises Questions, HOUSTON
    CHRONICLE, Dec. 19, 2014, available at
 25
    https://www.houstonchronicle.com/news/article/Federal-agency-s-shelter-oversight-
 26 raises-5969617.php (last visited June 11, 2018). Although ORR states that “Shiloh
    RTC is not operated by DayStar Treatment Center,” Letter from James De La Cruz,
 27
    Apr. 2, 2018, Exhibit 83, PX 596, it never denies that their owner is one and the
 28 same.
                                                           REPLY TO OPPOSITION TO MOTION TO
                                                 8                     ENFORCE SETTLEMENT
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  1         Implicit in Defendants’ argument is that licensing is good enough. That, of
  2 course, would reduce the Settlement’s other requirements for proper placements to
  3 surplusage. Defendants offer no reason to drain those requirements of independent
  4 force. See Marx v. Gen. Revenue Corp., 568 U.S. 371, 386 (2013) (“canon against
  5 surplusage is strongest when an interpretation would render superfluous another part
  6 of the same statutory scheme”).
  7         In any event, the Settlement is an order of the Court, and as such, a consent
  8 decree. Rufo v. Inmates of Suffolk Cty. Jail, 502 U.S. 367, 378 (1992). This Court
  9 accordingly has an independent interest in ensuring Defendants comply with the
 10 decree. United States v. N.Y.C. Dist. Council of N.Y.C., 229 F. App’x. 14, at *18 n.5
 11 (2d Cir. 2007).
 12         Defendants offer no reason the Court should abdicate its role. Plaintiffs are not
 13 “ask[ing] this Court to independently determine what provision of psychotropic
 14 medication is ‘appropriate.’. . . .” Opp. at 14. They ask only that the Court decide
 15 whether ORR is complying with the simple text of statutes and regulations.
 16         Federal courts routinely interpret and apply state statutes and regulations. See,
 17 e.g., In re W. States Wholesale Nat. Gas Antitrust Litig., 715 F.3d 716, 746 (9th Cir.
 18 2013), aff’d sub nom. Oneok, Inc. v. Learjet, Inc., 135 S. Ct. 1591 (2015). Like most
 19 jurisdictions, Texas and California courts determine the plain meaning of statutes by
 20 construing their literal text according to the rules of grammar and common usage,
 21 Baird v. State, 398 S.W.3d 220, 228 (Tex. Crim. App. 2013); People v. Cornett, 53
 22 Cal. 4th 1261, 1265 (2012), a task wholly familiar to this Court, see, e.g., Order re
 23 Pls.’ Mot. To Enforce Settlement of Class Action and Defs.’ Mot. to Amend
 24 Settlement Agreement, July 24, 2015 (Dkt. 177), at 3 (applying California’s “plain
 25 language” canon to construe the Settlement).
 26
 27
 28
                                                            REPLY TO OPPOSITION TO MOTION TO
                                                 9                      ENFORCE SETTLEMENT
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  1         ORR routinely medicates class members without parental consent or court
  2 order.4 Deciding whether ORR thereby breaches the Settlement requires expertise in
  3 neither medicine nor licensing. It requires only an ability to discern the plain meaning
  4 of statutes and regulations, which this Court is fully competent to do.
  5         B.     ORR’s notifying “viable sponsors” of changes to children’s
  6                medications falls far short of complying with the Settlement.
  7         Defendants next invite the Court to condone ORR medicating children because
  8 ORR purports to inform “viable sponsor[s]” about changes in medications it is
  9 already giving children. Opp. at 17. Such advisals do not come close to satisfying
 10 state law or, a fortiori, the Settlement.5
 11
      Although Defendants argue that Shiloh is “monitored closely” by licensing
      4

 12 authorities, Opp. at 15, they produce no evidence that DFPS has ever affirmatively
 13 approved ORR medicating children without parental consent or court authorization.
    The best Defendants can manage is that ORR is “not aware of any reported
 14 concerns.” Id. at 16. That hardly overcomes the evidence of record that ORR is
 15 medicating children without parental consent or court authorization, a plain violation
    of state law.
 16 5
      The evidence shows that ORR regularly fails to tell parents it is changing their
 17 children’s medications. Mother of Isabella M. (PX 71, 74) ¶ 4; Maricela J. (PX 263)
 18 ¶ 7; Decl. of David I., Exhibit 14 (PX 81) ¶ 7. If ORR sees fit to keep parents in the
    dark, it is not apparent whom ORR considers “viable sponsor[s].”
 19
    Even if ORR were to explain the “benefits; risks; side effects; medical consequences
 20 of refusing the medication or recommendation for the medication; and contact
    information for the prescribing physician,” Opp. at 17, it would fail to comply with
 21
    Texas law, which requires far more, including —
 22        “(1) The child’s diagnosis; (2) The nature of the child’s mental illness or
 23         condition; (3) An explanation of the purpose of the medication; (4) A
            description of the benefits expected; (5) A description of any accompanying
 24         discomforts and risks, including those which could result from long-term use of
 25         the medication, and possible side effects, including side effects that are known
            to frequently occur in persons, side effects to which the child may be
 26         predisposed, and the nature and possible occurrence of irreversible symptoms;
 27         (6) A statement of whether the medication is habituating in nature; (7)
            Alternative interventions to the use of psychotropic medication that have been
 28         attempted and that have been unsuccessful; (8) Other alternative treatments or
                                                           REPLY TO OPPOSITION TO MOTION TO
                                                 10                    ENFORCE SETTLEMENT
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  1         Texas requires “General Residential Operations” such as Shiloh to “obtain a
  2 written, signed, and dated consent, specific to the psychotropic medication to be
  3 administered, from the person legally authorized to give medical consent . . .” Tex.
  4 Admin. Code § 748.2001 (emphasis added).6 Defendants nowhere refute Plaintiffs’
  5 showing that ORR fails to obtain such consent. Decl. of Carter White, Exhibit 89 (PX
  6 654-55) (dozens of class member files reviewed; none contains a consent form signed
  7 by a parent, family member, or potential sponsor).
  8         In sum, ORR gives children no choice but to take whatever psychotropic
  9 medications it prescribes, and it does so in blatant disregard of parental prerogative
 10 and state law; Defendants never truly contend otherwise.
 11
 12
 13
            procedures to the use of the psychotropic medication; (9) Risks and benefits of
 14         the alternative treatments or procedures; (10) Risks and benefits of not
 15         receiving or undergoing a treatment or procedure; (11) An explanation that the
            person legally authorized to give medical consent may ask questions about the
 16         child’s response to the medication, and may review your daily records on
 17         request; and (12) An explanation that the person legally authorized to give
            medical consent may withdraw consent and request the medication be
 18         discontinued at any time.
 19 Tex. Admin. Code § 748.2253(a) (emphasis added); see also Tex. Psychotropic Med.
 20 Utilization Parameters for Children & Youth in Foster Care 4 (5th Version) (Mar.
    2016), https://www.dfps.state.tx.us/Child_Protection/Medical_Services/documents/re
 21 ports/2016-
 22 03_Psychotropic_Medication_Utilization_Parameters_for_Foster_Children.pdf
    (Texas best practice guidelines mandating informed consent be obtained from the
 23 appropriate party, and specifying elements of informed consent). A person legally
 24 authorized to consent must acknowledge receipt of the foregoing information and a
    copy of the signed acknowledgment must be included in a child’s file. Tex. Admin.
 25 Code § 748.2253(c).
 26  Defendants concede that Shiloh must comply with DFPS’s Minimum Standards for
      6

    General Residential Operations, including Chapter 748, available at
 27
    www.dfps.state.tx.us/child_care/child_care_standards_and_regulations. Opp. at 15,
 28 n.5.
                                                           REPLY TO OPPOSITION TO MOTION TO
                                                11                     ENFORCE SETTLEMENT
                                                                       CV 85-4544-DMG (AGRX)
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  1         C.     ORR’s medicating class members for months on end cannot possibly
  2                be dismissed as a response to an emergency.
  3         Defendants lastly note that ORR dispensing with parental and court
  4 authorization for medicating children is permissible in emergencies. However, ORR
  5 administering class members psychotropics for brief periods to control acute
  6 psychotic episodes is not here at issue. See, e.g., Decl. of Isabella M., Exhibit 10 (PX
  7 62) ¶ 12; Mother of Isabella M. (PX 71, 74) ¶ 5 (class member Isabella M. medicated
  8 for 10 months).7
  9         Though Defendants would distend this exception to cover ORR medicating
 10 children for months on end for “anxiety” or “depression,” see, e.g., Decl. of David I.,
 11 Exhibit 14 (PX 81) ¶ 7 (“I take four pills in the morning and about four to six pills in
 12 the evening. I don’t know what all these pills are for, but I think the ones I take at
 13 night are for depression and anxiety.”), such prolonged drugging can hardly be
 14 considered a valid response to a psychiatric emergency.
 15 V.      GRANTING YOUTH A TIMELY AND MEANINGFUL OPPORTUNITY TO BE HEARD ON
 16         A CUSTODIAN’S FITNESS HELPS PROTECT THEM FROM HARM OR NEGLECT.

 17         Defendants next suggest that allowing children an opportunity to be heard
 18 regarding the fitness of their parents and other available custodians would impair
 19 ORR’s evaluating custodians, a notion bordering on the frivolous.
 20         The Settlement requires ORR to “make and record the prompt and continuous
 21 efforts on its part toward . . . the release of the minor . . .” and to “release a minor
 22 from its custody without unnecessary delay . . .” when a suitable custodian appears.
 23 Exhibit 80, PX 562-63 ¶¶ 14, 18.
 24
 25
     Texas permits physicians to medicate dependent children without parental consent
      7

 26 or judicial authorization only in acute psychiatric emergencies: that is, when “it is
    immediately necessary to provide medical care . . . to prevent the imminent
 27
    probability of death or substantial bodily harm to the child or others.” Tex. Fam.
 28 Code § 266.009(a) (emphasis added).
                                                              REPLY TO OPPOSITION TO MOTION TO
                                                  12                      ENFORCE SETTLEMENT
                                                                          CV 85-4544-DMG (AGRX)
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  1         The question is not whether ORR may evaluate proposed custodians, but
  2 whether it is free to extend children’s detention indefinitely without affording an
  3 opportunity to be heard regarding available custodians’ fitness. The decree requires
  4 balance. Ceding ORR carte blanche to vet class members’ custodians ad nauseam
  5 would reduce the Settlement’s “general policy favoring release” and Paragraphs 14
  6 and 18, to nullities.
  7         Allowing children a chance to be heard could not possibly impair ORR’s
  8 screening custodians. To the contrary, not only are disreputable candidates less likely
  9 to appear in formal proceedings, but testing a custodian’s fitness before a detached
 10 arbiter could only improve the vetting process.
 11         Defendants never defend the dearth of transparency, timeliness, and fairness in
 12 ORR’s denying or delaying children’s release to available custodians. Instead, they
 13 argue that extreme vetting is good because ORR cannot take children back into
 14 custody if they are abused; and further, that the TVPRA supersedes the Settlement
 15 such that Plaintiffs have no settlement right to prompt release. Neither of Defendants’
 16 arguments has any merit.
 17         A.     ORR admits to policies that irrationally prolong class members’
 18                detention.
 19         Defendants never dispute that ORR delays or denies class members’ release
 20 from RTCs until facility medical staff certify they are “well.” Nor do Defendants
 21 deny that ORR: (1) unilaterally prescribes what requirements parents and other
 22 proposed custodians must meet to receive a child; and (2) unilaterally declares
 23 whether class members’ parents or other prospective custodians meet the
 24 qualifications it sets. Neither of these practices squares with the Settlement.
 25         In their opening brief, Plaintiffs described the experiences of numerous
 26 children and youth whose detention ORR has prolonged via extreme vetting of their
 27 parents and other available custodians. Pls.’ Br. at 19-21. Defendants contest the
 28 details with respect to a few class members, but that should give little pause. The
                                                            REPLY TO OPPOSITION TO MOTION TO
                                                13                      ENFORCE SETTLEMENT
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  1 purpose of giving youth an opportunity to be heard is to resolve differences with
  2 ORR, but with transparency, reliability, and fairness. Whether or not its treatment of
  3 individual children is excusable, ORR admits to arbitrary8 policies that protract non-
  4 dangerous class members’ detention in violation of the Settlement.
  5                1.    Extended detention so ORR’s director may approve release.
  6         In their opening brief, Plaintiffs showed that ORR detains youth whom it has
  7 ever placed in a staff-secure or secure facility until its director approves release. Pls.’
  8 Br. at 18-19. ORR applies this policy even if it knows step-up was predicated on
  9 “incomplete, inaccurate or erroneous information . . .” and even if an immigration
 10 judge finds a youth not dangerous. FAQ: ORR DIRECTOR’S RELEASE DECISION, Jan.
 11 26, 2018, Exhibit 24, PX 120. The evidence shows that this policy protracts
 12 children’s detention for weeks or months.
 13         Defendants do not dispute that ORR may detain non-dangerous youth only if
 14 all available custodians are unfit. They also concede the director’s approval has
 15 nothing to do with custodians’ fitness. Opp. at 18; Decl. of Jallyn N. Sualog, Dkt.
 16 425-1 ¶ 22 (“Sualog”).
 17         Defendants do offer that ORR has “clarif[ied]” its policy so as to dispense with
 18 the director’s approval if an immigration judge finds a class member not dangerous.
 19 Opp. at 19 n.9. But even if true,9 ORR is still clearly extending non-dangerous
 20 children’s detention for the sake of its director’s approval.
 21
 22  ORR admits it adopted these policies “without impact analysis or other data-based
      8

    evaluations,” Sualog ¶ 23 (emphasis added), but rather as a concession to political
 23 criticism, id.
 24  Defendants fail to report that ORR’s online policy manual requiring director
      9

    approval reads exactly as it has since June 2017. ORR, Children Entering the United
 25
    States Unaccompanied: § 2.7, available at www.acf.hhs.gov/orr/resource/children-
 26 entering-the-united-states-unaccompanied-section-2#2.7 (last rev. June 12, 2017).
 27 Defendants also fail to produce any document that actually supersedes ORR’s
    January 2018 FAQ, in which ORR states unequivocally that its director must approve
 28 the release of all youth “who are in or were previously placed in a secure or staff-
                                                             REPLY TO OPPOSITION TO MOTION TO
                                                 14                      ENFORCE SETTLEMENT
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  1         Settlement Paragraph 24A requires Defendants to provide all class members a
  2 bond hearing, regardless of the type of facility in which ORR places them, unless they
  3 affirmatively waive a hearing. ORR is accordingly obliged to let immigration judges
  4 review whether youth are dangerous. Order re Pls.’ Mot. to Enforce, Jan. 20, 2017
  5 (Dkt. 318), at 6 (“24A Order”).
  6         Compelled to comply with Paragraph 24A in July 2017, Defendants asked that
  7 ORR notify only youth in staff-secure or secure facilities of their right to a bond
  8 hearing. Defendants represented that ORR does not place dangerous youth in shelters;
  9 immigration judges reviewing whether such a youth is dangerous would therefore be
 10 pointless. Letter from Sarah Fabian, Sept. 12, 2017, Exhibit 90, PX 658 (“UAC in
 11 non-secure shelter care are unlikely to benefit from a hearing as ORR likely would
 12 concede to an immigration judge that such UAC are not a danger and may be released
 13 upon the determination of a suitable sponsor.”). ORR therefore protracts the detention
 14 of non-dangerous youth—those whom it has stepped down to shelters—until its
 15 director approves release. That is clearly not release without unnecessary delay.
 16         In sum, ORR must release non-dangerous children to reputable custodians
 17 promptly, and there is no material dispute that its director-approval policy protracts
 18 the detention of non-dangerous class members. ORR thereby breaches Settlement
 19 Paragraphs 14 and 18.
 20               2.     Detaining class members until RTC staff approve release.
 21         Defendants nowhere deny that ORR refuses to release non-dangerous class
 22 members it has placed in RTCs until a facility doctor certifies them “well.” Pls.’ Br.
 23 at 21-22, citing, inter alia, Isabella M. (PX 61) ¶ 3 (class member interned and
 24 medicated without parental consent for 10 months awaiting doctor’s approval).
 25
 26
 27
    secure facility [even if they] have prevailed in a Flores bond hearing on a question of
 28 dangerousness . . .” Exhibit 24, PX 120 (emphasis added).
                                                           REPLY TO OPPOSITION TO MOTION TO
                                                15                     ENFORCE SETTLEMENT
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  1         Here ORR’s policy is all but indistinguishable from indefinite civil
  2 commitment, yet ORR adheres to none of the substantive standards or procedural
  3 protections that courts have held are required when the government seeks to confine
  4 children to psychiatric facilities.
  5         The Settlement nowhere permits ORR to civilly commit class members. If a
  6 non-dangerous class member has a reputable custodian, ORR must release the class
  7 member. ORR indefinitely detaining class members it thinks have mental health
  8 issues is an egregious violation of the Settlement.
  9                3.     Detaining children until post-release services are in place.
 10         Defendants also confess a policy, previously unknown to Plaintiffs, that is yet
 11 another systematic breach of the Settlement: ORR refuses to release class members to
 12 qualified custodians who have passed home studies until “post-release services” are
 13 in place. Opp. at 21.
 14         Implicit in this policy is that it is “necessary” for a child to remain in federal
 15 custody rather than spend a single day with a parent or other custodian before ORR
 16 gives the custodian these services:
 17         •      Help with improving “parenting” skills.
 18         •      Help “ensur[ing] the UAC’s attendance at all immigration court
 19                proceedings . . . .”
 20         •      Information “about the benefits of obtaining legal guardianship of the
 21                child.”
 22         •      Help with “accessing relevant legal service resources . . . .”
 23         •      Help arranging “school enrollment . . .” for a released youth.
 24         •      Help getting “medical insurance for the UAC and . . . locating medical
 25                providers . . . .”
 26         •      Information about “relevant mental health resources and referrals for the
 27                UAC.”
 28         •      Information about “resources and referrals for family counseling . . . .”
                                                              REPLY TO OPPOSITION TO MOTION TO
                                                  16                      ENFORCE SETTLEMENT
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  1         •     Help with “address[ing] any substance abuse-related needs of the UAC
  2               . . . .”
  3         •     “[I]nformation about gang prevention programs . . . .”
  4 ORR, Children Entering the United States Unaccompanied: § 6.2.2, available at
  5 www.acf.hhs.gov/orr/resource/children-entering-the-united-states-unaccompanied-
  6 section-6#6.2.2 (last rev. Sept. 11, 2017).10
  7         In exceptional cases, having some of the above services in place could be
  8 worth a child spending a short amount of extra time locked away from parents and
  9 family. But ORR admits that it extends children’s detention whenever it studies a
 10 custodian’s home and not because an individual child actually needs specific post-
 11 release services.
 12         That is patently irrational. A home study focuses on the proposed custodian’s
 13 fitness, not whether a given youth has any actual need for legal guardianship or other
 14 post-release services. If ORR wishes to extend class members’ detention for the sake
 15 of post-release services, it should persuade a neutral decision maker that a child
 16 actually needs them.
 17         In sum, ORR’s policies dramatically extend stepped-up class members’
 18 confinement. ORR admits that a youth whom it summarily dispatches to a staff-
 19 secure or secure facility will be detained more than four and one half times longer
 20 than other youth will be. Sualog ¶¶ 30, 44. ORR admits that about one in five youth it
 21
 22    ORR asserts it “is unable to release a TVPRA or home study case without post-
      10

 23 release services in place.” Sualog ¶ 24.
 24 The TVPRA, however, requires ORR to “conduct follow-up services, during the
    pendency of removal proceedings, on children for whom a home study was
 25 conducted . . .” 8 U.S.C. § 1232(c)(3)(B). The statute nowhere demands that follow-
 26 up services commence instantly upon a child’s release.
    ORR knows as much. Section 1232(c)(3)(B) has been law since 2008, yet ORR did
 27
    not begin detaining children for the sake of post-release services until 2016. Sualog
 28 ¶ 24.
                                                           REPLY TO OPPOSITION TO MOTION TO
                                                17                     ENFORCE SETTLEMENT
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  1 steps up spends a year or more in custody, id. ¶ 45, and that it has even detained one
  2 youth for nearly four years now, id. ¶ 47. That ORR could confine a youth without
  3 trial for so long is simply astonishing.
  4         B.    ORR’s prolonging class members’ detention because it is purportedly
  5               powerless to retrieve them from unfit custodians is irrational.
  6         Tacitly conceding that its policies do indeed subject proposed custodians to
  7 “extreme vetting,” Defendants argue such screening is warranted “because ORR
  8 lacks the authority to resume care if the sponsor abuses or neglects a child.” Opp. at
  9 21. Defendants’ argument is specious.
 10         Settlement Paragraph 16 provides: “The INS may terminate the custody
 11 arrangements and assume legal custody of any minor whose custodian fails to comply
 12 with the agreement required under Paragraph 15.” Paragraph 15 requires, inter alia,
 13 that a custodian agree to “provide for the minor’s physical, mental, and financial
 14 well-being . . . .” Defendants have not shied away in the past from re-arresting class
 15 members. Saravia, 280 F. Supp. 3d at 1177-79, 1202-03.
 16         Even assuming, arguendo, ORR were helpless to protect former detainees
 17 itself, such youth would be no worse off than other children, including U.S. citizens.
 18         For 15 years James Owens supervised 120 lawyers handling child abuse and
 19 neglect cases in Los Angeles. He declares:
 20         Although Los Angeles County has a large population of undocumented
 21         children and youth, I am aware of no instance in which [the Department of
 22         Children and Family Services] refused to protect a child because she or he
 23         lacked lawful immigration status or had previously been in federal immigration
 24         custody.
 25 Decl. of James Owens, June 12, 2018, Exhibit 91 (PX 666) ¶ 8 (“Owens”).
 26         Nothing stops ORR from reporting post-release abuse or neglect of former
 27 detainees to child protection agencies. Given the many declarations in which youth
 28 describe the hardships of ORR detention, it should surprise no one if class members
                                                           REPLY TO OPPOSITION TO MOTION TO
                                               18                      ENFORCE SETTLEMENT
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  1 would prefer a true child protection agency’s help over another term “deterring”
  2 unauthorized immigration.
  3 VI.     THE TVPRA REINFORCES NON-DANGEROUS CLASS MEMBERS’ RIGHTS UNDER
  4         THE    SETTLEMENT      TO TRANSPARENCY AND FAIRNESS IN STEP-UPS AND

  5         DETERMINATIONS OF CUSTODIANS’ FITNESS.

  6         Defendants lastly argue that the TVPRA supersedes the Settlement’s placement
  7 and release provisions. Opp. at 24. Though they nowhere acknowledge it, this
  8 argument has already been rejected by this Court and the Ninth Circuit.
  9         The Court may recall that ORR’s defense against allowing children bond
 10 hearings was that the TVPRA supersedes the Settlement, devolving to ORR exclusive
 11 authority to decide whether a youth is too dangerous to release. This Court disagreed:
 12         Defendants argue that the TVPRA’s provisions involving review of potential
 13         custodians are “inconsistent with the scheme proposed by Plaintiffs in which
 14         an immigration judge could order [an unaccompanied alien child] released
 15         even where HHS has determined that no suitable custodian is available to take
 16         custody of the [child].” Opp. at 16. Not so. If the initial proposed custodian is
 17         unfit to care for the unaccompanied child under the TVPRA, Defendants
 18         should follow Paragraph 14 of the Flores Agreement, which outlines an order
 19         of preference for the minor’s release, in order to effectuate the least restrictive
 20         form of detention.
 21 24A Order at 6 n.5 (emphasis added); see also id. at 7 (Settlement “poses no
 22 irreconcilable conflict with the TVPRA’s safety and placement provisions.”
 23 (emphasis added)).
 24         Affirming, the Ninth Circuit observed that the TVPRA requires “prompt
 25 ‘placement’ of children in the ‘least restrictive setting that is in the best interest of the
 26 child,’” and “[m]irror[s] the Settlement” in requiring ORR to take care that class
 27 members not be placed with unfit custodians. Flores v. Sessions, 862 F.3d at 876,
 28 878. The court emphasized ORR’s continuing to adhere to the Settlement was
                                                              REPLY TO OPPOSITION TO MOTION TO
                                                  19                      ENFORCE SETTLEMENT
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  1 consistent with the TVPRA’s goal of improving the Government’s treatment of class
  2 members:11
  3         Like the Settlement, the HSA and TVPRA emphasize placing children in the
  4         least restrictive environment, and require that the government ensure that they
  5         receive safe and appropriate care. . . .
  6         [T]he HSA and TVPRA were intended . . . to improve the treatment of such
  7         children while in government custody. There is nothing in the legislative
  8         history of either statute to suggest that, in doing so, Congress in fact sought to
  9         strip unaccompanied minors of any extant protections . . .
 10 Id. at 880-81.
 11         Defendants make no effort to establish that the TVPRA “directly conflict[s]”
 12 with the Settlement, or that allowing children to be heard on a custodian’s fitness
 13 would convert the agreement into “an instrument of wrong.” Id. at 874. The TVPRA
 14 has been law since 2008, yet Defendants have never moved to relieve ORR from the
 15 decree’s placement, release, or custodian vetting provisions. Defendants must comply
 16 with those provisions until they carry the burden of showing a direct conflict with the
 17 TVPRA. Flores v. Lynch, 828 F.3d 898, 909-10 (9th Cir. 2016).
 18
 19
 20   This Court’s 24A Order and the Ninth Circuit’s affirmance thereof similarly
      11

 21 improved class members’ legal circumstances. Defendants’ attempt to distinguish
    Beltran v. Cardall, 222 F. Supp. 3d 476 (E.D. Va. 2016), and Santos v. Smith, 260 F.
 22 Supp. 3d 598 (W.D. Va. 2017), is therefore perplexing.
 23 As Plaintiffs have explained, both Beltran and Santos enjoined ORR’s refusal to
 24 release children because it thought their parents unfit. Defendants nevertheless
    suggest that because these cases pre-date the Ninth Circuit’s decision in this case,
 25 class members deserve less relief than the petitioners in those cases won. Opp. at 19
 26 n.10. That makes no sense.
    In all events, in May 2018 yet another federal court overturned ORR’s refusal to
 27
    release a child on the grounds that his mother was unfit. Maldonado v. Lloyd, 2018
 28 U.S. Dist. LEXIS 75902, at *18-29 (S.D.N.Y. 2018).
                                                             REPLY TO OPPOSITION TO MOTION TO
                                                  20                     ENFORCE SETTLEMENT
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  1 VII. PLAINTIFFS’ PROPOSED REMEDIAL ORDER IS PRACTICABLE AND EQUITABLE.
  2         In Beltran, Santos, and Maldonado, courts applied the test set out in Mathews
  3 v. Eldridge, 424 U.S. 319 (1976), and held ORR’s process for assessing parents’
  4 fitness—or rather the lack thereof—inadequate. Beltran, 222 F. Supp. 3d at 482-89,
  5 Santos, 260 F. Supp. 3d at 611-15, and Maldonado, 2018 U.S. Dist. LEXIS 75902, at
  6 *18-29.
  7         Under Mathews, courts determine what process is due by weighing these
  8 factors: (1) “the private interest that will be affected by the official action”; (2) “the
  9 risk of erroneous deprivation of such interest through the procedures used, and the
 10 probable value, if any, of additional or substitute procedural safeguards”; and (3) “the
 11 Government’s interest, including the function involved and the fiscal and
 12 administrative burdens that the additional or substitute procedural requirement would
 13 entail.” Mathews, 424 U.S. at 335. Applying this test to the facts at bar, it is clear that
 14 ORR is unlawfully abridging Plaintiffs’ rights: (1) to prompt release to parents and
 15 other enumerated custodians; (2) to licensed placements; and (3) to be free from the
 16 unnecessary and unwanted administration of psychotropic medications.
 17         A.     ORR should refer custodians’ fitness to competent state authorities if
 18                it declares them unfit or fails to decide fitness within thirty days.
 19         In Beltran, Santos, and Maldonado, the courts found the petitioners’ private
 20 interests substantial. Beltran, 222 F. Supp. 3d at 482 (minor’s “right to his mother’s
 21 care . . . is ‘deserving of the greatest solicitude’”); Santos, 260 F. Supp. 3d at 612
 22 (“[T]he private interests implicated here include both the right to family unification
 23 and O.G.L.S.’s right to liberty.”); Maldonado, 2018 U.S. Dist. LEXIS 75902, at *27
 24 (ORR’s “actions have ‘encroached’ upon EHE’s right to family integrity
 25 ‘considerably.’”).
 26         To the extent ORR withholds custody of class members from their parents, the
 27 private interests at stake here are identical to those identified in Beltran, Santos, and
 28 Maldonado.
                                                             REPLY TO OPPOSITION TO MOTION TO
                                                  21                     ENFORCE SETTLEMENT
                                                                         CV 85-4544-DMG (AGRX)
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  1         Class members’ interest in prompt release to grandparents, adult siblings, and
  2 other available custodians designated in Settlement Paragraph 14 is key to ensuring
  3 that they are placed in the least restrictive setting appropriate under the
  4 circumstances. That both the Settlement and the TVPRA enshrine the right to least
  5 restrictive placement dispels any doubt that this right is substantial as well. 12
  6         The courts in Beltran, Santos, and Maldonado next found that ORR’s
  7 procedures create an unacceptable risk of erroneous deprivation and that better
  8 procedures would substantially reduce this risk. Beltran, 222 F. Supp. 3d at 488
  9 (“deficient procedures employed by ORR created a significant risk that Petitioner and
 10 RMB would be erroneously deprived of their right to family integrity”); Santos, 260
 11 F. Supp. 3d at 612 (“more fulsome process, with correction of some of the
 12 deficiencies alleged by petitioners, would considerably lessen the risk of an erroneous
 13 deprivation”); Maldonado, 2018 U.S. Dist. LEXIS 75902, at *25-27 (same).
 14         The evidence before this Court shows that ORR persists in the many
 15 procedural shortcomings those decisions identify, and this Court should likewise hold
 16 that ORR’s dearth of transparency and fairness in vetting class members’ custodians
 17 an unacceptable risk of erroneous deprivation.
 18         Finally, none of the three courts could identify any substantial governmental
 19 interest in ORR refusing to afford fairer procedure. Beltran, 222 F. Supp. 3d at 489
 20 (providing adversarial hearing would not “impose the catastrophic administrative
 21 burden Respondents fear.”); Santos, 260 F. Supp. 3d at 610, 616 (“respondents have
 22 not identified . . . what burden it would impose on ORR to provide more process”);
 23 Maldonado, 2018 U.S. Dist. LEXIS 75902, at *27 (“As in Santos, Respondents here
 24 fail to ‘identif[y] what burden it would impose on ORR to provide more process to
 25 [EHE] (or children like him)’”).
 26
 27
      As Plaintiffs have explained, Defendants may not abridge class members’
      12

 28 substantive rights under the Settlement without due process. Smith, 994 F.2d at 1406.
                                                             REPLY TO OPPOSITION TO MOTION TO
                                                 22                      ENFORCE SETTLEMENT
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  1         Rather than prescribe additional procedures, the courts in Beltran, Santos, and
  2 Maldonado ordered ORR to release the petitioning juveniles. As one explained,
  3         The Court will not undertake to design additional procedures for ORR to
  4         follow in this case. The Court is neither competent to do so, nor inclined to
  5         encroach upon an area of the law traditionally reserved to state courts. . . . The
  6         Court will therefore . . . require that RMB be released to Petitioner’s care and
  7         custody. Should Respondents believe Petitioner to be unable to care for RMB,
  8         or that RMB presents a risk to himself or others, they may refer the matter to
  9         appropriate state and local authorities.
 10 Beltran, 222 F. Supp. 3d at 489.
 11         Here, the evidence shows that in FY2015 class members spent an average of 37
 12 days in ORR custody. Sualog ¶ 30. Though that figure has increased to 57 days in
 13 FY2018, ORR concedes that much of the increase is due to policies the agency
 14 adopted “without impact analyses or other data-based evaluations,” id. ¶ 23, but
 15 rather as a concession to political criticism, id.
 16         State child protection agencies typically require that home studies be
 17 completed in about one week and a parent’s fitness determined within thirty days.
 18 Owens (PX 666-67) ¶ 9.
 19         If ORR declares a proposed custodian unfit, or fails to decide a custodian’s
 20 fitness within 30 days, it should refer the matter to state authorities so that they may
 21 commence their process without extending class members’ confinement even more.
 22         B.     ORR should submit step-ups for review by immigration judges.
 23         As for ORR denying class members licensed placements, much the same
 24 applies with respect to each of the Mathews factors. Interning children indefinitely in
 25 a juvenile hall or psychiatric facility without hearing has long offended due process.
 26 In re Gault, 387 U.S. 1, 27-31 (1967); O’Connor v. Donaldson, 422 U.S. 563, 575
 27 (1975) (government may not “confine those who are mentally ill merely to ensure
 28 them a living standard superior to that they enjoy in the private community”).
                                                            REPLY TO OPPOSITION TO MOTION TO
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  1         And here an appropriate remedy is clear. In Flores v. Sessions, the Ninth
  2 Circuit held, “Providing unaccompanied minors with the right to a hearing under
  3 Paragraph 24A therefore ensures that they are not held in secure detention without
  4 cause.” 862 F.3d at 868.
  5         The Court should accordingly order ORR to advise class members of its
  6 reasons and evidence for denying a licensed placement before the youth is stepped
  7 up. Absent exigency, ORR should present a class member’s dangerousness for
  8 determination by an immigration judge before step-up. ORR should be enjoined
  9 against denying class members a licensed placement contrary to an immigration
 10 judge’s finding that the youth is not one described in Settlement Paragraph 21 as
 11 subject to unlicensed placement.
 12         C.    ORR should obtain the informed written consent of a parent or other
 13               close relative, or else a court order, before administering children
 14               psychotropic medications.
 15         ORR should be enjoined to comply fully with state law if it wishes to
 16 administer class members psychotropic medications, and should be required to obtain
 17 appropriate consent for such medications, as required by the Settlement and the
 18 Mathews standard. Class members have a substantial liberty interest in being free
 19 from the unwanted and unnecessary administration of psychotropic medication. See,
 20 e.g., Washington v. Harper, 494 U.S. 210, 221 (1990); Parham v. J. R., 442 U.S. 584,
 21 600 (1979); M.B. v. Corsi, No. 2:17-cv-04102-NKL, 2018 U.S. Dist. LEXIS 3232, at
 22 *37 (W.D. Mo. Jan. 8, 2018) (“Plaintiffs have a substantial liberty interest in avoiding
 23 the unnecessary administration of medical treatment.”). Administering psychotropic
 24 medication to children without first obtaining informed consent creates a substantial
 25 risk of erroneous deprivation of this right. See, e.g., M.B., 2018 U.S. Dist. LEXIS
 26 3232, at *38-43.
 27         Except in the case of acute psychiatric emergency, ORR should, at a minimum,
 28 obtain a parent’s informed consent prior to giving a child specific medications. If no
                                                          REPLY TO OPPOSITION TO MOTION TO
                                               24                     ENFORCE SETTLEMENT
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  1 parent is available, ORR should be enjoined to obtain the informed voluntary consent
  2 of another adult family member identified in Settlement Paragraph 14D, or else a
  3 court order authorizing it to administer specific psychotropic medications.
  4 VIII. CONCLUSION
  5        For the foregoing reasons, this Court should grant this motion and enter
  6 Plaintiffs’ proposed order.
  7
      Dated: June 15, 2018
  8                                             Respectfully submitted,
  9
                                                CARLOS R. HOLGUÍN
 10                                             PETER A. SCHEY
                                                Center for Human Rights &
 11                                             Constitutional Law
 12                                             LEECIA WELCH
 13                                             NEHA DESAI
                                                POONAM JUNEJA
 14                                             CRYSTAL ADAMS
                                                National Center for Youth Law
 15
 16                                             HOLLY COOPER
                                                CARTER WHITE
 17                                             U.C. Davis School of Law
 18
                                                     /s/
 19
                                                    Carlos Holguín
 20
 21                                                  /s/
 22                                                 Leecia Welch
 23
 24                                                  /s/
                                                    Holly Cooper
 25
 26
 27
 28
                                                           REPLY TO OPPOSITION TO MOTION TO
                                               25                      ENFORCE SETTLEMENT
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